                                          No. 24-1550
                                            In the
         United States Court of Appeals
                              for the Eighth Circuit

                                      JEFFERSON COUNTY,
                                                                                    Plaintiff-Appellee,
                                                 v.
                               DANNIE E. WILLIAMS, M.D., et al,
                                                                                          Defendants,

                        EXPRESS SCRIPTS, INC. and OPTUMRX, INC.,
                                                                               Defendants-Appellants.

                            _______________________________________
                              Appeal from the United States District Court
               for the Eastern District of Missouri – St. Louis, No. 4:23-cv-01539-MTS.
                          The Honorable Matthew T. Schelp, Judge Presiding.

                 JOINT BRIEF OF DEFENDANTS-APPELLANTS
                  EXPRESS SCRIPTS, INC. and OPTUMRX, INC.

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                           SUMMARY OF THE CASE

      Plaintiff-Appellee is Jefferson County, Missouri (the County). Defendants-

Appellants are Express Scripts, Inc. (Express Scripts) and OptumRx, Inc.

(OptumRx)—pharmacy benefit managers (PBMs) who administer prescription-

drug plans for clients including federal agencies. The County brought this suit in

Missouri state court, seeking relief under Missouri public nuisance law based on the

alleged role of the PBMs and others in harms caused by prescription opioid abuse.

After receipt of expert liability reports showing that the County would rely on

prescription claims processed by the PBMs for federal clients, the PBMs removed

the suit to the U.S. District Court for the Eastern District of Missouri under the

federal officer removal statute. The district court granted the County’s motion to

remand but stayed execution of the remand pending this appeal.

      The Court should set this case for oral argument. The case involves important

questions about the proper construction of the federal officer removal statute, 28

U.S.C. § 1442(a)(1), as well as the timing provisions of the removal procedure

statute, 28 U.S.C. § 1446(b). Oral argument will allow the parties to address those

legal issues and their application to the record, which includes significant procedural

complexities. Oral argument will also allow the parties to address the County’s

pending motion to dismiss the appeal for lack of jurisdiction. The Court should allow

15 minutes of argument per side.



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                 CORPORATE DISCLOSURE STATEMENT
      Pursuant to Federal Rule of Appellate Procedure 26.1 and Eighth Circuit

Local Rule 26.1A, Defendant Express Scripts, Inc., states that its sole parent

company is Evernorth Health, Inc. All interests in Evernorth Health, Inc., are held

by The Cigna Group, a publicly traded company. The Cigna Group has no parent

corporation, and no publicly held corporation owns 10% or more of its stock.

                                                           /s/ Jonathan G. Cooper


      Pursuant to Federal Rule of Appellate Procedure 26.1 and Eighth Circuit

Local Rule 26.1A, Defendant OptumRx, Inc. states that it is not a publicly traded

entity. OptumRx is a wholly owned subsidiary of OptumRx Holdings, LLC.

OptumRx Holdings, LLC is a wholly owned subsidiary of Optum, Inc. Optum, Inc.

is not a publicly traded entity. Optum, Inc. is a wholly owned subsidiary of United

HealthCare Services, Inc. United HealthCare Services, Inc. is not a publicly traded

entity. United HealthCare Services, Inc. is a wholly owned subsidiary of

UnitedHealth Group Incorporated, which is publicly traded on the New York Stock

Exchange. No publicly traded entity owns 10% or more of UnitedHealth Group

Incorporated stock.

                                                                /s/ Brian D. Boone




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                                 INTRODUCTION

      Express Scripts and OptumRx administer prescription-drug benefits for both

government and private clients, including federal agencies such as the Department

of Defense and the Veterans Health Administration. When the County sued the

PBMs and other defendants in Missouri state court for allegedly contributing to a

public nuisance arising from prescription opioid abuse, the County did not explicitly

indicate that it would seek to impose liability related to the PBMs’ work for those

federal agencies. The first time the County unambiguously disclosed that the PBMs’

work for federal agencies would form part of its liability theory was in November

2023, when the County served expert liability reports that expressly relied on the

PBMs’ processing of benefits claims for federal health plans. The PBMs then

promptly removed the case to federal court under the federal officer removal statute,

28 U.S.C. § 1442(a)(1), within the 30 days provided by the general removal

procedure statute, 28 U.S.C. § 1446(b)(3).

      That removal was permissible under the plain language of both statutes and

this Court’s precedent. The removal was timely under Section 1446(b)(3) because

the County’s initial pleading did not “explicitly disclose[]” a basis for federal officer

removal, In re Willis, 228 F.3d 896, 897 (8th Cir. 2000) (per curiam), and the 2023

expert liability reports provided the first “unequivocal statement” from which the

PBMs could “unambiguously” determine that federal-officer removal was available,



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Gibson v. Clean Harbors Envtl. Servs., Inc., 840 F.3d 515, 520 (8th Cir. 2016). And

the removal was substantively proper because the County seeks to hold the PBMs

liable “for or relating to” their work on behalf of federal officers, 28 U.S.C.

§ 1442(a)(1)—namely their processing of prescription claims for federal agencies,

which the County’s 2023 expert reports expressly specified as a basis for liability.

      While recognizing that the PBMs’ removal was objectively reasonable, the

district court granted the County’s motion to remand for two alternative reasons,

both of which reflect legal errors that this Court should reverse on de novo review.

      First, the district court incorrectly held that the PBMs’ removal was untimely.

The court suggested that an initial removal by other defendants on other grounds

called into question the timeliness of the PBMs’ present removal. But that initial

removal does not foreclose the present removal for multiple reasons: it was not on

federal officer grounds, it was not effective, and it did not result in the forfeiture of

any removal arguments by the PBMs. The court’s principal basis for finding the

present removal untimely was its conclusion that the PBMs could have removed the

suit in 2022 when the County produced—then immediately retracted and

disavowed—discovery relying on the PBMs’ processing of prescription claims for

federal agencies. The flaw in the court’s reasoning is that it failed to apply this

Court’s precedent providing that only an “unequivocal” statement that

“unambiguously” furnishes a basis for removal triggers Section 1446(b)(3)’s 30-day



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removal clock. Gibson, 840 F.3d at 520. Under that standard, the County’s 2022

production did not start the 30-day removal clock because discovery that the County

retracted and disavowed could not “unambiguously” provide an “unequivocal” basis

for removal. Id. (emphases added).

      Second, the district court incorrectly concluded (in a two-sentence footnote)

that the PBMs had not satisfied the substantive requirements for federal officer

removal. The court’s only basis for that holding was that the County had disclaimed

reliance on the PBMs’ work for federal agencies. Even if the County had adhered to

that disclaimer, it would be unenforceable because neither the legal elements of the

County’s public-nuisance claim nor its factual allegations against PBMs are

susceptible to such artificial division. But the Court need not reach that issue here,

because the district court’s holding can be reversed on the straightforward basis that

the County revoked its disclaimer of reliance on the PBMs’ work for federal-agency

clients when it produced—and stood by—expert liability reports relying on the

PBMs’ work for federal agencies. By its own admission, the County seeks to hold

the PBMs liable “for or relating to” their work on behalf of federal officers. 28

U.S.C. § 1442(a)(1). That justifies removal.

                       JURISDICTIONAL STATEMENT

      The district court had subject-matter jurisdiction under 28 U.S.C. § 1442(a)(1)

because the PBMs, as “person[s] acting under” an “officer … of the United States,”



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removed this suit “for or relating to … act[s] under color of such office” to “the

district court … for the district and division embracing the place wherein it is

pending.” This Court has jurisdiction under 28 U.S.C. § 1447(d) because the PBMs

appealed from an “order remanding [the] case to the State court from which it was

removed pursuant to [28 U.S.C.] section 1442.” The district court granted the motion

to remand on March 8, 2024. App. 668; R. Doc. 58 at 12; Add. 12. The PBMs timely

filed their notice of appeal on March 13, 2024. App. 669-71; R. Doc. 59 at 1-3.

                            STATEMENT OF ISSUES

      1.    Whether the district court erred by finding the PBMs’ removal untimely

even though they removed the suit within 30 days of the County’s first express and

unequivocal statement that it sought to impose liability based on the PBMs’ work

for federal agencies. See 28 U.S.C. § 1446(b)(3); Gibson, 840 F.3d 515; Willis, 228

F.3d 896; see also Dietrich v. Boeing Co., 14 F.4th 1089 (9th Cir. 2021); Par. of

Plaquemines v. Chevron USA, Inc., 7 F.4th 362 (5th Cir. 2021).

      2.    Whether the district court erred by holding that the PBMs failed to meet

the substantive requirements for federal officer removal even though the County

expressly seeks to impose liability related to the PBMs’ work for federal agencies.

See 28 U.S.C. § 1442(a)(1); Minnesota v. Am. Petroleum Inst. (API), 63 F.4th 703

(8th Cir. 2023); Jacks v. Meridian Res. Co., LLC, 701 F.3d 1224 (8th Cir. 2012); see

also County Bd. of Arlington County v. Express Scripts Pharmacy, Inc., 996 F.3d



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243 (4th Cir. 2021); In re Nat’l Prescription Opiate Litig. (Frederick County), 2023

WL 166006 (N.D. Ohio Jan. 12, 2023).

                   STATUTORY PROVISIONS INVOLVED

      The federal officer removal statute, 28 U.S.C. § 1442(a)(1), provides as

follows:

      A civil action or criminal prosecution that is commenced in a State
      court and that is against or directed to any of the following may be
      removed by them to the district court of the United States for the district
      and division embracing the place wherein it is pending: … The
      United States or any agency thereof or any officer (or any person acting
      under that officer) of the United States or of any agency thereof, in an
      official or individual capacity, for or relating to any act under color of
      such office or on account of any right, title or authority claimed under
      any Act of Congress for the apprehension or punishment of criminals
      or the collection of the revenue.

      The pertinent timing provision of the removal procedure statute, 28 U.S.C.

§ 1446(b)(3), provides as follows:

      [I]f the case stated by the initial pleading is not removable, a notice of
      removal may be filed within thirty days after receipt by the defendant,
      through service or otherwise, of a copy of an amended pleading,
      motion, order or other paper from which it may first be ascertained that
      the case is one which is or has become removable.

                          STATEMENT OF THE CASE

      This case presents questions about the proper application of the substantive

provisions of the federal officer removal statute, 28 U.S.C. § 1442(a)(1), and the

timing provisions of the removal procedure statute, 28 U.S.C. § 1446(b)(3), to the

PBMs’ 2023 removal of the County’s suit seeking to impose liability related to the

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PBMs’ administration of prescription-drug benefits for public and private clients—

including federal agencies.

       A.     Legal Background

       1.     “Congress enacted the original federal officer removal statute following

the War of 1812 and a series of similar statutes thereafter.” Graves v. 3M Co., 17

F.4th 764, 770 (8th Cir. 2021). The “basic purpose” of the statute is “‘to protect the

Federal Government from the interference with its operations that would ensue’” if

federal officers and agents could be subject to trial and liability in hostile state courts

based on actions “‘within the scope of their authority.’” API, 63 F.4th at 714 (quoting

Watson v. Philip Morris Cos., Inc., 551 U.S. 142, 150 (2007)).

       The federal officer removal statute has never been limited to federal officials

alone; it extends as well to “private parties who lawfully assist federal officers in the

performance of their official duties.” API, 63 F.4th at 714 (cleaned up); see, e.g.,

Jacks, 701 F.3d at 1233-34 (holding that private carriers administering health-

insurance benefits for federal agencies were covered by the statute). In addition,

given its significance to core federal interests, “the Supreme Court ‘has made clear

that the statute must be “liberally construed.”’” Jacks, 701 F.3d at 1230 (quoting

Watson, 551 U.S. at 147). In particular, the federal officer removal statute—unlike

most other removal statutes—is “not constrained by the well-pleaded complaint

rule.” API, 63 F.4th at 714. Thus, even a complaint containing claims that arise only



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under state law can be removed to federal court if the provisions of the federal officer

removal statute are satisfied. See Jacks, 701 F.3d at 1230.

      The version of the federal officer removal statute applicable to this case

includes amendments enacted by Congress in 2011. As relevant here, the statute

permits “any person acting under” a federal officer to remove a suit brought “for or

relating to any act under color of such office.” 28 U.S.C. § 1442(a)(1). The “or

relating to” language was added by Congress in the Removal Clarification Act of

2011, Pub. L. No. 112-51 § 2(b)(1)(A), 125 Stat. 545, 545, which was “intended to

broaden the universe of acts that enable Federal officers to remove to Federal Court,”

API, 63 F.4th at 715 (citation omitted). Under the current statute, “a private

defendant” seeking removal “must establish” four elements: “(1) it acted under the

direction of a federal officer, (2) there is a connection between the claims and the

official authority, (3) the defendant has a colorable federal defense to the plaintiffs’

claims, and (4) the defendant is a ‘person,’ within the meaning of the statute.” Id.

      2.     The procedural requirements for removal under the federal officer

removal statute, like those for removal under most other statutes, are specified in 28

U.S.C. § 1446(b). BP plc v. Mayor & City Council of Baltimore, 141 S. Ct. 1532,

1538 (2021). Section 1446(b) sets forth different procedural requirements depending

on when a case becomes removable. Section 1446(b)(1), which applies to the

removal of an “initial pleading,” requires a notice of removal to be filed “within 30



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days after the receipt by the defendant … of a copy of the initial pleading setting

forth the claim for relief upon which such action or proceeding is based.” 28 U.S.C.

§ 1446(b)(1). Section 1446(b)(1) is triggered by “receipt of the initial complaint only

when the complaint explicitly discloses” the basis for removal. Willis, 228 F.3d at

897 (emphasis added).

      Section 1446(b)(3) applies when “the initial pleading is not removable.” 28

U.S.C. § 1446(b)(3). It requires a notice of removal to be filed “within thirty days

after receipt by the defendant … of a copy of an amended pleading, motion, order or

other paper from which it may first be ascertained that the case is one which is or

has become removable.” Id. Section 1446(b)(3) is triggered only by an “amended

pleading, motion, order or other paper” that “set[s] forth a sufficiently detailed and

unequivocal statement from which the defendant may unambiguously ascertain that

the … jurisdictional requirements have been satisfied.” Gibson, 840 F.3d at 520

(emphasis added) (citation omitted).

      B.     Factual and Procedural Background

      1.     PBMs contract with clients to administer prescription-drug benefits and

process insurance claims for prescription medications. App. 644; R. Doc. 52 at 1;

Add. 23; see Rutledge v. Pharm. Care Mgmt. Ass’n, 592 U.S. 80, 83-84 (2020).

Express Scripts and OptumRx contract with private entities (e.g., employer-

sponsored health plans) as well as government agencies. As particularly relevant



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here, Express Scripts provides PBM services to the U.S. Department of Defense

(DoD) health care program known as TRICARE, which offers plans covering active-

duty service members. App. 16; R. Doc. 1 at 5. Express Scripts serves TRICARE

members across the country, including in Jefferson County, subject to specific

requirements and direction from DoD. App. 644-46; R. Doc. 52 at 1-3; Add. 23-25.

Express Scripts also provides services to health plans participating in the Federal

Employees Health Benefits Program (FEHBP), which is administered and overseen

by the U.S. Office of Personnel Management (OPM). App. 647-48; R. Doc. 52 at 4-

5; Add. 26-27. Express Scripts serves current and retired federal employees across

the country, including in Jefferson County, subject to specific requirements and

direction from OPM. Id. OptumRx similarly contracts with the Veterans Health

Administration (VHA) to provide services to veterans across the country, including

in Jefferson County, subject to specific requirements and direction from VHA. App.

16; R. Doc. 1 at 5.

      2.     In January 2019, the County filed its initial pleading in Missouri state

court against the PBMs and numerous other defendants, including opioid

manufacturers, distributors, and retail pharmacies. Jefferson County, et al. v.

Williams, et al., Pet. (22nd Jud. Cir., St. Louis City, 1922-CC00203). The pleading

included a claim under Missouri public nuisance law and sought to recoup the

“public costs” that the County claims it has “expended fighting the opioid epidemic.”



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App. 49; R. Doc. 1-3 at 1.1 The pleading alleged that the PBMs contributed to a

public nuisance by administering benefits and processing claims for prescription

opioids but did not make any reference to PBMs’ work on behalf of federal clients

such as DoD or VHA. App. 280-283; R. Doc. 1-3 at 232-35.

       Two days after the initial pleading was filed (and before the PBMs had been

served), then-Defendant CVS Pharmacy, Inc. removed the case under the removal

provision of the Class Action Fairness Act (CAFA), 28 U.S.C. § 1453(b), and the

general federal removal statute, 28 U.S.C. § 1441(a), which permits removal of any

case that could have been filed in federal court (e.g., a suit arising under federal law,

28 U.S.C. § 1331). App. 17; R. Doc. 1 at 6. The case was then transferred to the

federal opioids multi-district litigation (MDL), which has been pending before

Judge Dan Aaron Polster in the Northern District of Ohio since 2017. Id.

       On July 11, 2019, Judge Polster issued a scheduling order stating that two

Missouri state court judges had contacted him to request the remand of “a small

number of cases”—including this one—“brought by cities or counties … that were

removed from their jurisdictions and landed in the MDL.” Id. The PBMs and other

defendants objected to the requested remand “because it would bypass procedure,



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    For simplicity, this brief cites the operative Second Amended Petition (SAP),
which is reproduced in the joint appendix. The SAP made substantive changes only
to the fraud claim, which is not discussed here. App. 48; R. Doc. 1-3 at 1 n.1.


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conflict with orders” previously entered by the court, and “cause inefficiencies.” Id.

(Dkt. 1931). On July 24, 2019, Judge Polster severed this case and one other from

the MDL and remanded them both to Missouri state court after stating that the claim

of removal jurisdiction was “very tenuous.” Id. Upon remand, the two counties’

cases proceeded in state court as separate lawsuits.

      3.     During post-remand discovery in state court, the PBMs served requests

asking the County to identify the specific prescriptions that the County contends

were improper and caused the County’s alleged injuries. App. 19; R. Doc. 1 at 8;

Add. 13. In response, the County provided a set of “red flag” criteria—alleged

indicators that the County contends could suggest problematic prescriptions—and

applied those criteria to the prescription data produced in discovery (the “Red Flag

Analysis”). App. 20; R. Doc. 1 at 9; Add. 14. The Red Flag Analysis purports to

identify which prescriptions the County is relying on to prove the PBMs are liable

for creating an oversupply of opioids. The County served seven different “interim”

Red Flag Analyses, each purportedly superseding the previous version. Id.

      In its sixth iteration of Red Flag Analysis, served on February 3, 2022, the

County identified for the first time 9,326 prescription claims that Express Scripts

processed on behalf of DoD for TRICARE. Id. The next day, the County withdrew

that analysis due to an unspecified “error.” Id. Ten days later, the County served a

revised Red Flag Analysis that omitted the TRICARE claims. Id.



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      Given the County’s equivocation, the PBMs informed the County that they

intended to remove the action to federal court under the federal officer removal

statute unless the County confirmed in writing that it was not seeking to prove

liability by challenging “claims adjudicated or processed for a plan controlled or

sponsored by a federal governmental department or entity.” App. 21; R. Doc. 1 at

10. The County responded that “it is not challenging federal prescription PBM

claims … in the instant state court proceeding.” Id.

      On March 16, 2022, the County memorialized its position by entering into a

Joint Stipulation and Proposed Order Regarding Federal Plans. That stipulation

provided that the County “will not now or at any time in the future in this state court

litigation seek to establish liability against any of the PBM Defendants in connection

with any Federal Plan.” Id. The County further stipulated that it “will not now or at

any time in the future in this state court litigation take the position or pursue any

argument suggesting that the PBM Defendants’ conduct relating to prescription

claims for Federal Plans caused an oversupply of prescription opioids in Jefferson

County, contributed to the theories of liability against the PBMs upon which

Jefferson County bases its lawsuit, or caused or contributed to the harms for which

Jefferson County seeks recovery.” App. 22; R. Doc. 1 at 11.

      In July 2022, the County entered into a second stipulation with OptumRx and

its affiliates, again affirming that it would not use prescriptions filled under federal



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health plans to prove its claims. App. 22-23; R. Doc. 1 at 11-12. Both stipulations

provide that “nothing in this stipulation limits [the PBMs’] . . . rights in this litigation

in any way.” App. 309; R. Doc. 2-16 at 4; Add. 22; App. 320; R. Doc. 2-17 at 4.

       4.     For the next year and a half, the PBMs litigated this case in good-faith

reliance on the County’s representations. App. 23; R. Doc. 1 at 12. On November

15, 2023, the County served three liability expert reports that, among other things,

relied on a new “red flag” analysis of opioid prescription claims that includes claims

for TRICARE and other of the PBMs’ federal-agency clients. App. 23-24; R. Doc.

1 at 12-13. In other words, the prescriptions carved out of its February 2022 Red

Flag Analysis are now a central feature of the County’s liability theory. Id.

       The PBMs accordingly removed the case to the district court under the federal

officer removal statute, 28 U.S.C. § 1442(a)(1), noting that other courts have

sustained such removals in parallel opioid litigation, App. 13-14; R. Doc. 1 at 2-3

(citing Arlington County, 996 F.3d at 248; Frederick County, 2023 WL 166006, at

*3-8). In response, the County did not assert—as it had in 2022—that its inclusion

of federal prescriptions was an “error.” App. 19; R. Doc. 1 at 8; Add. 8; App. 569,

573-74; R. Doc. 37 at 6, 10-11. Instead, the County’s counsel sent an email to the

PBMs explaining that the County is now relying on data of prescription claims the

PBMs processed for TRICARE, VHA, and other federal plans as “evidence” of the

PBMs’ “overall knowledge as to the choices it was making with regard to” PBM



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services, for which the County seeks to hold the PBMs liable. App. 626; R. Doc. 51

at 10. The County nevertheless moved for remand on the ground that federal officer

removal was unavailable. App. 652; R. Doc. 53 at 4.

      C.     The Decision Under Review
      On March 8, 2024, the district court (Schelp, J.) granted the County’s motion

to remand but declined to execute the remand for seven days to allow the PBMs an

opportunity to appeal. App. 668; R. Doc. 58 at 12; Add. 12.

      The court first held that the PBMs’ removal was untimely. The court stated

that a case is removable under Section 1446(b)(3) only “if the case stated by the

initial pleading is not removable,” and the court observed that the initial pleading in

this case had been removed on CAFA and federal question grounds. App. 661; R.

Doc. 58 at 5; Add. 5. The court noted that the PBMs had joined the “collective

objection” to the request “to sever and remand Jefferson County’s claims to state

court,” which the court stated “implicitly communicated [the PBMs’] belief that the

initial pleading was, in fact, removable.” App. 662; R. Doc. 58 at 6; Add. 6. The

court then noted that Judge Polster had “severed and remanded the action, and in

doing so, noted the ‘claim of federal jurisdiction’ was ‘very tenuous’ but did not

make a jurisdictional finding.” Id. The court further stated that the PBMs “did not

include any analysis within [their] Notice of Removal or … Memorandum in




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Opposition to the Motion to Remand showing that the initial pleading was not

removable.” Id.

      The district court continued by stating that, “even if the initial pleading was

not removable, the Court agrees with [the County] that the case became removable,

if ever, on February 14, 2022.” Id. The court concluded that the PBMs “were entitled

to remove the case to federal court” at that time, and “[i]t is of no moment that the

County responded that it was ‘not challenging federal prescription PBM claims’” or

“entered a joint stipulation to that effect.” App. 663; R. Doc. 58 at 7; Add. 7. The

court did not address this Court’s holding in Gibson that Section 1446(b)(3) is

triggered only by an “unequivocal statement from which the defendant may

unambiguously” determine that removal was available, 840 F.3d at 520, even though

the PBMs cited that holding repeatedly in their opposition to the remand motion.

App. 622, 632-33; R. Doc. 51 at 6, 16, 17.

      In the alternative, the district court stated in a two-sentence footnote that, even

if the PBMs’ removal was timely, the court was “unpersuaded that a causal

connection is present to allow removal under 28 U.S.C. § 1442.” App. 667; R. Doc.

58 at 11; Add. 11. “[B]ecause [the County] disclaimed all challenges related to

federal prescription claims in the Stipulations entered between the parties,” the court

stated, “the charged conduct only relates to non-federal prescription claims.” Id.




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      Despite ordering remand, the district court found the PBMs’ removal

“objectively … reasonable” and denied the County’s request for an award of fees

and costs. App. 667-68; R. Doc. 58 at 11-12; Add. 11-12.

                          SUMMARY OF ARGUMENT

      The PBMs timely and properly removed this suit. The district court’s contrary

holdings misapply this Court’s precedent on removal timing and incorrectly deny

the PBMs a federal forum to defend against claims that the County has

acknowledged relate to the PBMs’ work for federal agencies—a paradigmatic

ground for federal officer removal.

      I.     The PBMs’ 2023 federal officer removal was timely under the plain

language of the removal procedure statute and this Court’s precedent. The County’s

“initial pleading” in 2019 did not “explicitly disclose[]” a basis for federal officer

removal. Willis, 228 F.3d at 897 & n.1; 28 U.S.C. § 1446(b)(3). And the County

provided no “amended pleading, motion, order or other paper” before November

2023 from which the PBMs could “ascertain[] that the case is one which is or has

become removable,” 28 U.S.C. § 1446(b)(3), because the County made no

“unequivocal statement from which” the PBMs could “unambiguously” determine

that federal officer removal was available, Gibson, 840 F.3d at 520.

      The district court avoided that straightforward conclusion by suggesting that

the initial pleading was removable and the PBMs should have removed in 2022. But



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the initial pleading did not explicitly disclose a basis for federal officer removal,

which is the operative question for purposes of Section 1446(b)(3). And, in any

event, the 2019 removal on CAFA and federal question grounds resulted in remand

to state court—the opposite of removability.

      Nor does the prospect that the PBMs arguably could have removed on federal

officer grounds in 2022 render their 2023 removal untimely. The district court

squarely contradicted this Court’s precedent by failing to inquire whether the 2022

Red Flag Analysis contained an “unequivocal statement” that “unambiguously”

permitted federal officer removal, as is required to trigger the 30-day clock in

Section 1446(b)(3). Gibson, 840 F.3d at 520. Under the proper standard, the 30-day

clock was not triggered by the 2022 Red Flag Analysis; after all, the County

immediately revoked the relevant portion of the discovery and then disclaimed

reliance on federal prescription claims in a stipulation that the district court found

enforceable. Whatever else might be said about that approach, it hardly provides an

unequivocal basis for federal officer removal.

      II.    The PBMs’ 2023 removal was also substantively proper. Both the

Supreme Court and this Court have emphasized the breadth of the federal officer

removal statute and the need for liberal construction, and the statute’s scope has

further expanded after the 2011 amendments. The only federal court of appeals to

address the issue has held that a PBM’s administration of prescription-drug benefits



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for a federal agency suffices to remove a public-nuisance claim like the one the

County asserts here, Arlington County, 996 F.3d at 248, and the district judge

overseeing the federal opioid MDL has reached the same conclusion, Frederick

County, 2023 WL 166006, at *3-8.

      Neither the County nor the district court expressly disagreed with those

authorities. The court instead accepted the County’s argument that the result should

differ here because the County purportedly disclaimed reliance on the PBMs’

conduct related to their work for federal agencies. That argument is flawed for

multiple reasons, including that a public nuisance claim—which by definition

requires interference with the rights of the community as a whole—is not susceptible

to such artificial division. But even if such an effective disclaimer were theoretically

possible, the County has undermined its disclaimer in this case by submitting—and

standing behind—expert liability reports that expressly rely on the PBMs’

processing of prescription-drug claims for federal agency clients. By the County’s

own account of the evidence, therefore, the PBMs’ work for federal agencies is at

issue. Federal officer removal is accordingly proper.

                                    ARGUMENT

                            STANDARD OF REVIEW

      This Court reviews a “district court’s decision to remand de novo.” API, 63

F.4th at 709; see Buljic v. Tyson Foods, Inc., 22 F.4th 730, 738 (8th Cir. 2021)



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(same); Knudson v. Sys. Painters, Inc., 634 F.3d 968, 973 (8th Cir. 2011)

(specifically reviewing district court’s decision on timeliness of removal de novo).

I.      THE PBMs’ 2023 FEDERAL OFFICER REMOVAL WAS TIMELY

        Under the federal officer and removal procedure statutes, a complaint that

does not explicitly disclose a basis for federal officer removal may be removed by a

defendant within 30 days of receipt of a paper that unambiguously provides such a

basis. 28 U.S.C. §§ 1442(a)(1), 1446(b)(3); Gibson 840 F.3d at 520. Here, the PBMs

received no such paper before November 2023. The PBMs’ removal in December

2023 was accordingly timely. The district court’s contrary conclusion rests on a

misapplication of the removal procedure statute and this Court’s precedent.

        A.    When An Initial Pleading Does Not Explicitly Disclose Grounds for
              Federal Officer Removal, Removal Is Timely Within 30 Days Of
              Service Of A Paper Unambiguously Providing Grounds For Such
              Removal
        “To remove a case” under the federal officer removal statute—or another civil

removal statute—“a defendant must comply with” the procedures specified in 28

U.S.C. § 1446. BP, 141 S. Ct. at 1538. As relevant here, Section 1446(b) includes

two alternative timing provisions that apply depending on when the basis for

removal is disclosed.

        Section 1446(b)(1) permits removal “within 30 days after the receipt by the

defendant … of a copy of the initial pleading setting forth the claim for relief.” 28

U.S.C. § 1446(b)(1). This Court has explained that Section 1446(b)(1)’s “thirty-day


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time limit” “begins running upon receipt of the initial complaint only when the

complaint explicitly discloses” the basis for removal. Willis, 228 F.3d at 897

(emphasis added). That rule “promotes certainty and judicial efficiency by not

requiring courts to inquire into what a particular defendant may or may not

subjectively know” about the grounds for removal in an ambiguous complaint. Id.

(citing Chapman v. Powermatic, Inc., 969 F.2d 160, 163 (5th Cir. 1992)). It also

removes the incentive for defendants to engage in protective removals that may

prove unnecessary once details of the claim are clarified. Chapman, 969 F.3d at 163.

      Section 1446(b)(3) applies when “the case stated by the initial pleading is not

removable.” 28 U.S.C. § 1446(b)(3). In that circumstance, removal is timely “within

thirty days after receipt by the defendant … of a copy of an amended pleading,

motion, order or other paper from which it may first be ascertained that the case is

one which is or has become removable” on the specified basis. Id. In keeping with

the ordinary meaning of the statutory term “ascertain[],” id., this Court explained in

Gibson that “the thirty-day removal period set forth in § 1446(b)(3) does not begin

to run until the defendant receives from the plaintiff an amended pleading, motion,

order, or other paper” setting “forth a sufficiently detailed and unequivocal statement

from which the defendant may unambiguously ascertain that the” removal

requirements “have been satisfied.” 840 F.3d at 519-20 (emphasis added). That

“‘bright-line approach’ … discourages the use of indeterminate allegations by



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plaintiffs in their filings and other papers, and it eliminates the incentive for

defendants to file protective removals.” Id. at 520.

      In Gibson, the disputed removal was based on CAFA rather than the federal

officer removal statute. Id. at 520. But the timing provisions in Section 1446(b) apply

to civil removals on any statutory ground. See BP, 141 S. Ct. at 1538; 28 U.S.C.

§ 1453(b) (permitting removal under CAFA “in accordance with section 1446”).

This Court in Gibson did not suggest that its holding that Section 1446(b)(3)’s 30-

day clock begins to run only when “the defendant can unambiguously ascertain” that

removal is available was in any way specific to CAFA removal grounds. Gibson,

840 F.3d at 519 (quoting Graiser v. Visionworks of Am., Inc., 819 F.3d 277, 285 (6th

Cir. 2016)). To the contrary, in interpreting other aspects of Section 1446(b)(3), this

Court in Gibson relied on precedents that involved removals under the federal officer

removal statute. Id. at 521 (citing Dahl v. R.J. Reynolds Tobacco Co., 478 F.3d 965,

969 (8th Cir. 2007)). And as a matter of congressional policy and precedent, federal

officer removal should be at least as available as removal under other statutory bases,

given that federal officer removal—unlike other forms of removal—“is liberally

construed and not constrained by the well-pleaded complaint rule.” API, 63 F.4th at

714; see also Buljic, 22 F.4th at 738 (same).

      Other circuits that have considered the application of Section 1446(b)(3) to

federal officer removal have unanimously agreed that the 30-day clock begins to run



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only when the grounds for federal officer removal are “unequivocally clear and

certain.” Plaquemines, 7 F.4th at 372 (quoting Bosky v. Kroger Texas, LP, 288 F.3d

208, 211 (5th Cir. 2002)). The Fifth Circuit reached that result by adopting the same

interpretation of Section 1446(b)(3) that it had applied to removals based on other

statutory grounds. Id.; see Bosky, 288 F.3d at 211 (explaining in a diversity

jurisdiction removal dispute that Section 1446(b)(3)’s 30-day clock begins to run

only when the “facts supporting removability [are] stated unequivocally”).

      The Ninth Circuit adopted the same “unequivocally clear and certain”

standard for triggering Section 1446(b)(3)’s clock for federal officer removals in

Dietrich, 14 F.4th at 1093-95. There, the Ninth Circuit construed Section 1446(b)(3)

in reliance on some of the same cases this Court cited when it construed the same

statutory provision in Gibson. Id. at 1093-94 (citing Romulus v. CVS Pharmacy, Inc.,

770 F.3d 67, 75 (1st Cir. 2014), and Walker v. Trailer Transit, Inc., 727 F.3d 819,

825 (7th Cir. 2013)); see Gibson, 840 F.3d at 520. The Ninth Circuit’s construction

of Section 1446(b)(3) in Dietrich likewise relied on the same policy objectives of

promoting judicial economy and preventing protective removals that this Court

invoked in Gibson. See Dietrich, 14 F.4th at 1094; Gibson, 840 F.3d at 520-21.

      In short, what is true of CAFA removal is equally true of federal officer

removal: if an initial pleading does not explicitly disclose a basis for removal, the

case can be removed within 30 days of the defendant’s receipt of the first “amended



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pleading, motion, order or other paper” that provides an “unequivocal” basis for such

removal. Gibson, 840 F.3d at 520.

      B.     The Initial Pleading Did Not Explicitly Disclose Grounds for
             Federal Officer Removal And Its Prior Removal And Remand On
             Other Grounds Do Not Bear On The Timeliness Of The Present
             Removal

      The threshold requirement for a timely removal is satisfied here because “the

case stated by the initial pleading” did not explicitly disclose the grounds for federal

officer removal. 28 U.S.C. § 1446(b)(3); Willis, 228 F.3d at 897 & n.1. The district

court suggested—although it did not clearly hold—that the ineffective removal of

the complaint on other grounds might affect the timeliness of the present removal

under the federal officer removal statute. App. 661-62; R. Doc. 58 at 5-6; Add. 5-6.

To the extent the court relied on such a basis to find the present removal untimely,

it was mistaken for multiple reasons.

             1.     The 2019 pleading did not explicitly disclose a basis for
                    federal officer removal

      As explained above, this Court has held that an initial pleading is “removable”

for purposes of Section 1446(b) only if “the complaint explicitly discloses” the basis

for removal. Willis, 228 F.3d at 897. Here, there is no dispute that the County’s 2019

pleading did not “explicitly disclose[]” a basis for federal officer removal. Id. The

pleading does not explicitly mention the PBMs’ work for federal clients or include

any other explicit statement that the County’s claims relate to that work. The district



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court did not find to the contrary, nor did the County contend in the district court

papers that its initial pleading was removable on federal-officer grounds.

      To be sure, the fact that the initial pleading did not explicitly include a basis

for federal officer removal does not mean it could not have been properly removed.

But the prospect of such a discretionary removal does not start the mandatory 30-

day removal clock under Section 1446(b). Gibson, 840 F.3d at 519 (quoting Graiser,

819 F.3d at 285). As numerous courts have explained, “whether a defendant can

establish that federal jurisdiction exists and the question of when the thirty-day time

period begins are not two sides of the same coin.” Graiser, 819 F.3d at 285 (quoting

Kuxhausen v. BMW Fin. Servs. NA LLC, 707 F.3d 1136, 1141 n.3 (9th Cir. 2013)).

Even if the PBMs “could have ventured beyond the pleadings to demonstrate

removability” of the initial pleading, they were not “obligated to do so” to comply

with the timing provisions of Section 1446(b). Kuxhausen, 707 F.3d at 1141 n.3.

      In other words, “the 30-day removal clock” in Section 1446(b)(3)—like that

in Section 1446(b)(1)—does not “begin to run the first moment it becomes possible

for the defendant to remove the case.” Walker, 727 F.3d at 824 (emphasis added).

“No court of appeals has adopted this rule, and for good reason.” Id. It would

“conflate the timeliness question with the factual inquiry into whether the case is

substantively appropriate for removal.” Id.; see Dietrich, 14 F.4th at 1094 (reversing

a district court for mistakenly equating “facts sufficient to allow removal with facts



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sufficient to require removal within thirty days”) (emphases added); Cutrone v.

Mortg. Elec. Registration Sys., Inc., 749 F.3d 137, 146 (2d Cir. 2014) (“[E]ven if a

defendant could remove immediately upon the filing of a complaint because the case

satisfies the requirements of federal subject matter jurisdiction, a complaint or other

document from the plaintiff that does not explicitly convey the removability of a

case does not trigger the removal clocks of 28 U.S.C. §§ 1446(b)(1) and (b)(3).”);

Mumfrey v. CVS Pharmacy, Inc., 719 F.3d 392, 400 n.13 (5th Cir. 2013) (“[E]ven if

[the defendant] could have removed immediately, [the] Original Petition did not start

the clock such that [the defendant] was required to remove if it wanted to.”).2

             2.     CVS’s failed 2019 removal on CAFA and federal-question
                    grounds did not trigger the clock for federal-officer removal

       Although the district court did not suggest that the initial pleading was

removable on federal officer grounds, it observed that the initial pleading “was

removed to federal court” on other grounds (CAFA and federal question jurisdiction)

before ultimately being remanded. App. 658, 661-62; R. Doc. 58 at 2, 5-6; Add. 2,

5-6 (brackets omitted). To the extent the district court relied on that ineffective

removal on other grounds as a reason to find the PBMs’ current federal officer

removal untimely, the court legally erred for at least two reasons.




2
  This Court relied on Graiser, Walker, Cutrone, and Mumfrey in construing Section
1446(b) in Gibson. 840 F.3d at 519-20.


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      a.     First, Section 1446(b)(3)’s threshold condition that “the initial pleading

is not removable” is specific to particular grounds for “removab[ility].” For example,

“[w]hen a plaintiff’s initial pleading does not state a case that is removable under

CAFA—which was true [in that case] because each case involves claims by fewer

than 100 persons,” Section 1446(b)(3)’s threshold condition is satisfied, even if the

complaint could have been removable on other grounds. Atwell v. Bos. Sci. Corp.,

740 F.3d 1160, 1162 (8th Cir. 2013) (emphasis added).

      Although this Court has not had occasion to consider the application of that

principle to federal officer removal, the Ninth Circuit has held that “a federal officer

defendant’s thirty days to remove commence when the plaintiff discloses sufficient

facts for federal officer removal, even if the officer was previously aware of a

different basis for removal.” Durham v. Lockheed Martin Corp., 445 F.3d 1247,

1253 (9th Cir. 2006) (emphasis added); see id. at 1252 (explaining that the proper

way “to interpret ‘removable’” in Section 1446(b)(3) “is to look to each ground for

removal separately”). That approach “protects the government’s right of removal

and encourages plaintiffs to disclose the facts underlying their claims early on,”

while “an opposite result would encourage gamesmanship and defeat the policies

underlying sections 1442 and 1446.” Id. at 1253.

      The Fifth Circuit has followed the same approach, framing “the first question

in [its] timeliness inquiry” as “whether the [plaintiffs’] petitions affirmatively



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revealed on their face any grounds for federal-officer removal.” Plaquemines,

7 F.4th at 368 (emphasis added). And the Sixth Circuit’s decision in Graiser—which

this Court followed in Gibson, 840 F.3d at 519-21—expressly adopted the Ninth

Circuit’s reasoning from the federal officer removal context and applied it in the

CAFA removal context: “Federal jurisdiction under CAFA, like federal jurisdiction

over federal officers, serves different policy purposes than federal jurisdiction over

ordinary diversity cases or cases arising under federal-question jurisdiction.”

Graiser, 819 F.3d at 287 (emphasis added). Thus, “once a defendant ascertains that

a case is removable under CAFA”—or, here, under the federal officer removal

statute—the “defendant may remove the case … within the time constraints of §

1446(b)(1) and (b)(3) … even if the case was originally removable under a different

theory of federal jurisdiction.” Id.; see Jordan v. Nationstar Mortg. LLC, 781 F.3d

1178, 1184 (9th Cir. 2015) (likewise adopting the same position for CAFA removal

as for federal officer removal).

      b.     Second, even if the initial removal of the case on other grounds were

relevant to determining whether the initial pleading was “removable” for purposes

of Section 1446(b)(3), the answer would be no for an additional reason: The initial

removal was ineffective because “the federal judge presiding over the Opioid MDL

severed and remanded the action” to state court. App. 662; R. Doc. 58 at 6; Add. 6.




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      That conclusion follows from both the statutory language and precedent. As a

matter of ordinary meaning, it would make little sense to construe the term

“removable”—i.e., capable of being removed—to encompass complaints that were

remanded to state court, the very destination that removal is designed to avoid. For

that reason, courts have consistently held that a failed removal on one basis does not

procedurally bar a subsequent removal based on a “different factual basis.” City of

Creve Coeur, Mo. v. DirecTV LLC, 58 F.4th 1013, 1016 (8th Cir. 2023) (quoting

S.W.S. Erectors, Inc. v. Infax, Inc., 72 F.3d 489, 493 (5th Cir. 1996)); see O’Bryan

v. Chandler, 496 F.2d 403, 410 (10th Cir. 1974) (subsequent removal proper where

based on “a different set of facts”); cf. Dalton v. Walgreen Co., 721 F.3d 492, 494

n.2 (8th Cir. 2013) (stating that this Court would “affirm the district court’s order

remanding the case” but “it remains to be see whether this case may become

removable in the future due to [defendant’s] receipt of discovery responses” or

“other documents”). CVS’s failed removal of the initial pleading years before the

facts supporting the grounds for federal officer removal developed accordingly does

not affect whether the present removal is timely.

             3.     The PBMs did not waive or forfeit their right to federal
                    officer removal

      The district court separately stated that the PBMs “implicitly communicated

[their] belief that the initial pleading was, in fact, removable” by joining a “collective

objection to a request seeking to sever and remand” the County’s “claims to state


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court.” App. 662; R. Doc. 58 at 6; Add. 6. The court also stated that the PBMs “did

not include any analysis within [their] Notice of Removal” or opposition to the

County’s remand motion “showing that the initial pleading was not removable.” Id.

It is unclear what significance, if any, the district court attached to those statements,

but to the extent the court suggested that the PBMs had waived or forfeited their

right to remove the case on federal officer grounds, that position is mistaken.

      As an initial matter, the PBMs did not remove the initial pleading (CVS did

so before the PBMs had been served), nor did the PBMs take a position on the

removability of the initial pleading in the joint objection to severance and remand.

In re: National Prescription Opiate Litigation, 17-md-02804 (N.D. Ohio July 22,

2019), Dkt. 1931. The objection instead contended that the basis for the severance

and remand motion—a request from state court judges to have specified cases

returned from federal court—was procedurally improper. Id. at 1-2 (“The issue of

whether to sever and remand … should not be addressed unless and until th[e MDL]

Court lifts the moratorium on remand motions and a motion to remand is properly

before this Court and ripe for decision.”). The objection also questioned whether the

proposed venue, St. Louis City Circuit Court, was the proper remand destination for

Jefferson County’s suit. Id. at 3. Contrary to the district court’s suggestion, those

contentions do not “communicate”—even “implicitly”—any “belief” about the

removability of the initial pleading. App. 662; R. Doc. 58 at 6; Add. 6. And even if



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the PBMs had communicated a belief on that issue, it would be irrelevant. In

interpreting the removal statutes, this Court has declined “to inquire into what a

particular defendant may have subjectively known,” Gibson, 840 F.3d at 520

(quoting Willis, 228 F.3d at 897) (brackets omitted).

      The district court also erred in stating that the PBMs “did not include any

analysis within [their] Notice of Removal” or opposition to the County’s remand

motion “showing that the initial pleading was not removable.” App. 662; R. Doc. 58

at 6; Add. 6. In fact, both documents made the PBMs’ position on that issue clear.

In the notice of removal, for example, the PBMs explained that Section 1446(b)(3)’s

30-day clock starts “running upon receipt of the initial complaint only when the

complaint explicitly discloses” the basis for removal, App. 44; R. Doc. 1 at 33

(quoting Willis, 228 F.3d at 897) (emphasis altered), and that, “[i]n this case, the

County represented in its opposition to a motion to dismiss” the initial pleading “that

it was not seeking to recover based on prescription claims associated with federal

contracts,” thus confirming the absence of any explicit basis for federal officer

removal, App. 44-45; R. Doc. 1 at 33-34; see id. at 34 (“Only after receiving the

County’s liability expert reports on November 15, 2023, could the PBMs

unambiguously ascertain for the first time the County’s intent … to pursue liability

based on the PBMs’ work at the behest of the federal government.”) (emphases

added). Likewise, the PBMs’ opposition to the County’s motion to remand states:



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“At no point before November 2023 had the PBMs ‘receive[d] from the plaintiff’ a

paper that ‘set[s] forth a sufficiently detailed and unequivocal statement from which

[they could] unambiguously ascertain’ that the case was removable.” App. 622; R.

Doc. 51 at 6 (quoting Gibson, 840 F.3d 519-20) (emphasis added); see id. (“Those

[November 15, 2023] expert reports constitute ‘other papers’ from which it could

‘first be ascertained’ that the County’s case had ‘become removable.’”) (quoting 28

U.S.C. § 1446(b)(3)) (emphasis added). The PBMs thus left no doubt about their

position that Section 1446(b)(3) applied because the “initial pleading” did not

explicitly disclose a basis for federal officer removal and the November 2023 expert

liability reports constituted an “other paper from which it may first be ascertained

that the case is one which is or has become removable.” 28 U.S.C. § 1446(b)(3).

      In any event, even if the PBMs had taken the position that the initial pleading

was removable on CAFA or federal question grounds, that would not preclude them

from removing the case now on federal officer grounds. See Section I.B.2, supra.

The district court accordingly erred to the extent that it grounded its timeliness

holding in any aspect of the handling of the initial pleading.

      C.     The 2022 Red Flag Analysis Did Not Unambiguously Provide
             Grounds For Federal Officer Removal

      The principal basis for the district court’s timeliness ruling was that, “even if

the initial pleading was not removable” for purposes of Section 1446(b)(3), the

PBMs’ present removal was untimely because Section 1446(b)(3)’s 30-day clock


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was triggered by—and ran out following—the PBMs’ receipt in discovery of the

County’s 2022 Red Flag Analysis. App. 662; R. Doc. 58 at 6; Add. 6; see App. 662-

64; R. Doc. 58 at 6-8; Add. 6-8. The error in that reasoning is straightforward: The

court applied the wrong legal standard. Rather than asking whether the 2022

discovery provided an “unequivocal statement from which” the PBMs could

“unambiguously ascertain that” federal officer removal was available, Gibson, 840

F.3d at 520 (emphasis added), the court concluded that Section 1446(b)(3)’s 30-day

clock was triggered simply because the PBMs “were entitled to remove the case to

federal court” based on the portion of the 2022 discovery identifying prescriptions

processed by the PBMs for federal-agency clients. App. 663; R. Doc. 58 at 7; Add.

7. By asking the wrong question, the district court reached the wrong answer. Under

a proper reading of Section 1446(b)(3), the 2022 discovery referencing prescriptions

processed for federal clients—which the County revoked and then repudiated in a

stipulation the district court found effective—fell far short of the “unequivocal

statement” required to trigger the 30-day removal clock. Gibson, 840 F.3d at 520.

            1.     The County’s disavowal of reliance on claims processed by
                   the PBMs for federal clients made the 2022 Red Flag Analysis
                   an equivocal basis for federal officer removal
      As explained above, Section 1446(b)’s 30-day clock for removability is

triggered only by an amended complaint or other paper containing an “unequivocal

statement from which” the defendant can “unambiguously ascertain that the” federal



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officer removal requirements “have been satisfied,” Gibson, 840 F.3d at 520. The

2022 Red Flag Analysis submitted—but then promptly withdrawn and disclaimed—

by the County does not come close to meeting that standard.

      To recap the key developments, on February 3, 2022, the County sent the

PBMs its sixth Red Flag Analysis, which for the first time incorporated prescription

claims Express Scripts had processed for TRICARE. App. 20; R. Doc. 1 at 9; Add.

14. The next day, the County sent the PBMs a formal notice, letter, and email

retracting that discovery due to an “error.” Id. On February 14, 2022, the County

served a revised Red Flag Analysis omitting the TRICARE claims. Id. The PBMs

sought clarification that the County did not intend to hold the PBMs liable for their

federal work. App. 21; R. Doc. 1 at 10. The County agreed that it was “not

challenging federal prescription PBM claims (including seeking recovery from the

PBMs for same) in the instant state court proceeding.” Id. The parties then entered

into a stipulation wherein the County agreed that it would not “seek to establish

liability against [the PBMs] in connection with any federal plan.” App. 308; R. Doc.

2-16 at 2; Add. 2.

      By any reasonable measure, the 2022 Red Flag Analysis did not contain an

“unequivocal statement from which” the PBMs could “unambiguously ascertain that

the federal officer jurisdictional requirements had been satisfied.” Gibson, 840 F.3d

at 520 (emphasis added). After all, the County immediately withdrew the portion of



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the discovery on which the PBMs would have relied for federal officer removal—

the reference to claims processed by the PBMs for federal clients—and then

expressly disavowed that it was relying on the PBMs’ federal work. App. 24; R.

Doc. 1 at 13. If the PBMs had nevertheless removed the case, the district court almost

certainly would have considered the County’s withdrawal of the discovery and

subsequent disclaimer of reliance on the PBMs’ processing of claims for federal

clients. “It is axiomatic the court’s jurisdiction is measured ... at the time of

removal.” Hunter v. Page County, Iowa, 102 F.4th 853, 868 (8th Cir. 2024) (quoting

Schubert v. Auto Owners Ins. Co., 649 F.3d 817, 822 (8th Cir. 2011)). In evaluating

removal, moreover, this Court has made clear that a defendant must “apply a

reasonable amount of intelligence to its reading” of documents submitted by the

plaintiff. Gibson 840 F.3d at 519 (citation omitted). Here, that would surely include

considering the County’s express disavowal of reliance on the PBMs’ work for

federal clients, which at the very least created ambiguity about whether federal

officer removal was available.

      To be sure, the PBMs might have advanced persuasive arguments that the

County’s disclaimer should be disregarded or treated as ineffective, thereby allowing

removal. See Section II.B, infra. But those arguments, even if successful, would have

supported at most a discretionary removal, not one that is mandatory to avoid

expiration of the 30-day clock under Section 1446(b)(3). See Walker, 727 F.3d at



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824 (explaining that “[n]o court of appeals” has held that Section 1446(b)(3)’s

removal clock “begin[s] to run the first moment it becomes possible for the

defendant to remove the case[.]”) (emphasis added); see pp. 24-25, supra (collecting

similar reasoning). Indeed, the district court ultimately concluded in the decision

below that the County’s disclaimer was effective. App. 667; R. Doc. 58 at 11 n.12;

Add. 11 n.12. Whatever else might be said about the merits of that determination, it

squarely undermines any suggestion that the PBMs had an unambiguous or

unequivocal basis to remove after the County’s disclaimer of the 2022 Red Flag

Analysis. See Gibson, 840 F.3d at 520. The PBMs’ receipt of that discovery

accordingly did not start the 30-day clock for removal under Section 1446(b)(3). Id.

            2.     The district court applied the wrong standard in holding that
                   the 2022 Red Flag Analysis started Section 1446(b)(3)’s
                   removal clock

      The district court reached a contrary result by applying the wrong legal

standard. The court never acknowledged or applied the requirement that a basis for

removal must be “unambiguous[]” and “unequivocal” to trigger the 30-day clock in

Section 1446(b)(3). Gibson, 840 F.3d at 520. The court instead concluded that

Section 1446(b)(3)’s clock was triggered simply because the PBMs “were entitled

to remove the case to federal court.” App. 663; R. Doc. 58 at 7; Add. 7. As

demonstrated above, however, every court of appeals that has considered the

question has rejected that line of reasoning, reversing district courts that have



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employed it. Walker, 727 F.3d at 824; see, e.g., Cutrone, 749 F.3d at 146 (“[E]ven

if a defendant could remove … because the case satisfies the requirements of federal

subject matter jurisdiction, a complaint or other document from the plaintiff that

does not explicitly convey the removability of a case does not trigger the removal

clocks of 28 U.S.C. §§ 1446(b)(1) and (b)(3).”) (emphasis in original); Dietrich, 14

F.4th at 1094 (reversing district court for mistakenly equating “facts sufficient to

allow removal with facts sufficient to require removal within thirty days” under

Section 1446(b)(3)) (emphases added). The same result is warranted here.

      The district court also seemed to conclude that it had to analyze removability

at the precise moment when the County delivered the Red Flag Analysis indicating

that it was relying on the PBMs’ work for federal clients, even though the County

immediately withdrew that discovery and disavowed such reliance. In the court’s

view, it was “of no moment that the County” formally represented to the PBMs “that

it was ‘not challenging the federal prescription PBM claims” and “entered a joint

stipulation to that effect.” App. 663; R. Doc. 58 at 7; Add. 7. But there is no support

in the statutory text, this Court’s precedents, or the decisions of other circuits for

such a blinkered reading. As noted above, removability is analyzed “at the time of

removal.” Hunter, 102 F.4th at 868 (citation omitted). Thus, if the PBMs had

removed at any time after the County’s revocation of the Red Flag Analysis—which

came one day after its production in discovery—the district court would have had to



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consider whether the revocation affected the PBMs’ ability to remove. At a

minimum, that would have introduced ambiguity into the removability analysis.

      This Court’s application of the “unambiguous[]” and “unequivocal” standard

in Gibson is instructive. There, the Court concluded that a plaintiff’s “settlement

demand” of $6,500,000 “to resolve th[e] matter” did not satisfy CAFA’s $5,000,000

jurisdictional requirement because the “letter did not specifically and

unambiguously state … that respondents were now seeking to recover that amount

in damages or that they would definitively and finally settle the matter for the

recommended sum.” Gibson, 840 F.3d at 521-22. Other courts of appeals have

adopted a similarly “strict” approach. Paros Properties LLC v. Colo. Cas. Ins. Co.,

835 F.3d 1264, 1269, 1270 (10th Cir. 2016). In one case, for example, a plaintiff

stated that he had suffered injuries “while working at” a military base, but the court

of appeals found that statement insufficient to unambiguously disclose a basis for

removal under the federal-enclave doctrine, because “working at” could have been

used either temporally or geographically. Id. at 1269 (citing Akin v. Ashland Chem.

Co., 156 F.3d 1030, 1036 (10th Cir. 1998)). The ambiguity determination in this

case is straightforward compared to those: If ambiguity can exist even when a

plaintiff appears to expressly state the grounds supporting removal, it surely exists

here given that the County expressly disavowed the grounds supporting removal.




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       The district court’s position is also inconsistent with the objectives that have

informed this Court’s construction of the removal procedure statute. The Court

explained in Gibson that a “bright-line approach” under which Section 1446(b)(3)’s

30-day clock is triggered only by unequivocal statements supporting removal

“promotes clarity and ease of administration for the courts, discourages evasive or

ambiguous statements by plaintiffs in their pleadings and other litigation papers, and

reduces guesswork and wasteful protective removals by defendants.” Gibson, 840

F.3d at 520-21 (quoting Walker, 727 F.3d at 825). By contrast, if this Court were to

adopt the district court’s approach, defendants would have an incentive to engage in

a protective removal any time a plaintiff’s pleadings or other papers remotely

suggest grounds for removal, even where the plaintiff disavows its statements and

enters into a stipulation designed to remove the basis for federal jurisdiction. As this

Court and others have explained, no one in the system—not plaintiffs, defendants,

or courts—would benefit from such a rule, which would produce wasteful and costly

satellite litigation that can often be avoided. See id.3




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  Given that the removal procedure statute expressly mentions the prospect of Rule
11 sanctions for an unjustified removal, 28 U.S.C. § 1446(a), the district court’s rule
would also present defendants with “an intractable dilemma” of either “forgoing
removal” or “hurriedly” removing and “risking Rule 11 sanctions for noticing
removal without making an adequate inquiry.” Lovern v. Gen. Motors Corp., 121
F.3d 160, 163 (4th Cir. 1997).


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      D.    The PBMs Timely Removed Within 30 Days Of The 2023 Expert
            Discovery Providing Grounds For Federal Officer Removal
      Because the County’s “initial pleading” did not explicitly disclose a basis for

federal officer removal and the PBMs received no “other paper from which it” could

be unambiguously “ascertained that the case … is or has become removable” before

November 2023, 28 U.S.C. § 1446(b)(3); see Gibson, 840 F.3d at 520, the PBMs

retained the option to remove the case on federal officer grounds if such grounds

became apparent. That occurred on November 15, 2023, when the County served

three expert liability reports revealing that the County—despite its disclaimer and

stipulation—would rely on the PBMs’ federal work in advancing its public nuisance

claim. App. 23; R. Doc. 1 at 12; see App. 24; R. Doc. 1 at 13. The PBMs accordingly

removed on December 1, 2023, well within the 30 days allowed by Section

1446(b)(3). App. 46; R. Doc. 1 at 35.

      In contrast to its conduct in 2022, when the County revoked its discovery and

disclaimed reliance on the PBMs’ work for federal clients, the County this time

confirmed that it would rely on data of prescription claims the PBMs processed for

TRICARE, the VHA, and other federal plans as “evidence” supporting its public

nuisance claim. App. 23-24; R. Doc. 1 at 12-13. That step removed any potential




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ambiguity about the availability of federal officer removal, thereby confirming that

the PBMs’ removal is timely. Gibson, 840 F.3d at 520.4

II.      THE PBMs’ 2023 FEDERAL OFFICER REMOVAL WAS PROPER
         In addition to being timely, the PBMs’ removal was substantively proper. The

federal officer removal statute permits removal by a defendant “acting under” a

federal officer who is sued “for or relating to any act under color of such office.” 28

U.S.C. § 1442(a)(1). This Court has interpreted that provision to require a removing

defendant to show that “(1) it acted under the direction of a federal officer, (2) there

is a connection between the [plaintiffs’] claims and the official authority, (3) the

defendant has a colorable federal defense to the plaintiffs’ claims, and (4) the

defendant is a ‘person,’ within the meaning of the statute.” API, 63 F.4th at 714. The

district court did not disagree with the PBMs’ position that they satisfy all of those

requirements based on the substantive allegations in the complaint. The district court

instead stated in a two-sentence footnote that the County had successfully severed


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   The PBMs would be entitled to remove based on the grounds for federal officer
removal created by the County’s 2023 liability expert reports even if they did not
unambiguously disclose a basis for removal. See, e.g., Cutrone, 749 F.3d at 147
(explaining that discretionary removal is available in such circumstances even if the
mandatory 30-day period of Section 1446(b)(3) is not triggered); see Mumfrey, 719
F.3d at 398-99, 400 n.13 (same); Kuxhausen, 707 F.3d at 1141 n.3 (same). The Court
need not address that issue here because the County’s confirmation of its intent to
rely on the PBMs’ work for federal clients as evidence supporting its public nuisance
claim removes any ambiguity. See Romulus, 770 F.3d at 80 n.12 (declining to
address the issue in similar circumstances).


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the requisite connection by purportedly disclaiming “all challenges related to federal

prescription claims in the Stipulations entered between the parties.” App. 667; R.

Doc. 58 at 11 n.12; Add. 11 n.12. That reasoning contains several legal errors

warranting reversal.

      A.     The PBMs Satisfied All Elements Of Federal Officer Removal
      There is no dispute that the PBMs satisfied three of the four elements of

federal-officer removal: They (1) acted under the direction of a federal officer, (2)

have at least one colorable federal defense to the County’s claims, and (3) are

corporations and therefore “persons” entitled to invoke the removal statute. API, 63

F.4th at 714; see App. 25-33; R. Doc. 1 at 14-22 (showing “acting-under” element

is met), App. 39-42; R. Doc. 1 at 28-31 (“colorable-defense” element), App. 42-43;

R. Doc. 1 at 31-32 (“person” element); see generally App. 564-83; R. Doc. 37 at 1-

20 (not contesting these elements).

      The County disputes only the “connection” element—the requirement that the

plaintiff’s claims have “ha[ve] a ‘connection’ or ‘association’ with” the removing

defendant’s actions under a federal officer. API, 63 F.4th at 715. But as this Court

has recognized in a case with facts similar to this one, “[t]he hurdle erected by” the

connection “requirement is quite low.” Jacks, 701 F.3d at 1230 n.3 (citation omitted)

(permitting federal officer removal by health insurance carrier administering

benefits for federal health plan). And the hurdle has become even lower since 2011,



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when Congress expanded Section 1442(a)(1) to allow removal not only of claims

“for” a defendant’s acts under color of office but also of claims “relating to” a

defendant’s acts under color of office. See API, 63 F.4th at 714-15.

      That requirement is readily satisfied here, as the Fourth Circuit and the federal

district court overseeing the opioid MDL have correctly held in opioids lawsuits

containing allegations materially identical to this one. See Arlington County, 996

F.3d at 256-57; Frederick County, 2023 WL 166006, at *5-6; cf. Hawai’i v.

CaremarkPCS Health, LLC, 2024 WL 1907396, at *11-12 (D. Haw. May 1, 2024)

(non-opioids case finding Hawai’i’s claims sufficiently “related to” PBM’s work for

FEHBP plans to support federal-officer removal). Indeed, the connection element is

even more clearly satisfied in this case than it was in those cases, because here the

County has produced proposed evidence on liability—the expert reports—rather

than mere allegations. And the County expressly admits that the expert liability

reports rely on “analyses of federal claims” as “evidence” to prove its case. App.

640; R. Doc. 51-1 at 2; see App. 574-75; R. Doc. 37 at 11-12 (County describing its

experts’ use of federal data as “evidence” of the PBMs’ “overall knowledge” which

supposedly supports the County’s liability case).

      To take just a few examples, the County’s experts conducted a “red flag”

analysis of data produced by the PBMs and by retail pharmacies to opine that the

PBMs processed tens of thousands of insurance claims—many of which were for



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federal plans—dispensed in the Jefferson County area that met the County’s “red

flag” criteria. App. 34-35; R. Doc. 1 at 23-24; Add. 16-17. This “red flag analysis”

relies in part on data from retail pharmacies that do not identify the health plan that

covered each prescription, making it impossible to carve out which particular “red

flag” prescriptions were for members of federal plans even if the County’s liability

experts had tried to do so (which they did not). App. 35; R. Doc. 1 at 24; Add. 17.

Instead, the County’s experts opine that the PBMs should be liable for “every opioid

sold,” irrespective of whether the prescription opioid was dispensed to a member of

a federal plan. Id. The County’s experts also contend that the PBMs must provide

“abatement” for the entire opioid crisis in Jefferson County, and the County’s

proposed abatement plan seeks abatement in connection with the aggregate impact

of all opioid prescriptions dispensed in the County, including those to members of

the PBMs’ federal clients. App. 36; R. Doc. 1 at 25; Add. 18. Those positions are

almost identical to the allegations that the Fourth Circuit relied on in finding the

connection requirement satisfied. See Arlington County, 996 F.3d at 256-57

(“Arlington’s claims seek monetary damages due to harm arising from every opioid

prescription filled by pharmacies such as the ESI Defendants.”) (quotations omitted).

The same outcome follows even more clearly here.




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      B.     The County’s Purported Disclaimer Did Not Sever The Connection
             Between Its Claims And The PBMs’ Acts For Federal Officers
      The district court did not disagree with the PBMs that the County’s claims

implicate all four elements required for federal officer removal. Instead, the court

stated in a brief footnote that the County’s asserted disclaimer of “all challenges

related to federal prescription claims” had severed the relationship between its

claims and the PBMs’ work for federal clients. App. 667; R. Doc. 58 at 11 n.12;

Add. 11 n.12. The court erred in reaching that conclusion for at least two independent

reasons.

      1.     Even if a disclaimer might be enforceable in certain circumstances, the

County’s disclaimer here is not. The County’s central claim is that the PBMs

contributed to a public nuisance, App. 291-92; R. Doc. 1-3 at 244-45, which requires

an “unreasonable interference with the rights common to all members of the

community,” City of St. Louis v. Benjamin Moore & Co., 226 S.W.3d 110, 116 (Mo.

2007) (emphasis added). Because a public nuisance claim by its nature concerns the

public as a whole, it is not susceptible to the artificial subdivision between federal

and non-federal components that the County proposes. See API, 63 F.4th at 715 n.11

(explaining that the presence of nuisance claim inherently “creates a stronger case

for federal jurisdiction”).

      The allegations in the County’s complaint underscore that flaw in its position.

The County alleges that the PBMs engaged in a “common” course of conduct,


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including “failure to conduct adequate safety and efficacy studies, failure to properly

monitor and report suspicious activity, misleading marketing materials and literature

promoting the safety of opioids, and inadequate warnings provided to physicians and

consumers.” App. 69; R. Doc. 1-3 at 22 (emphasis added). None of those broad

allegations can be coherently divided to exclude PBM conduct on behalf of federal

clients while encompassing PBM conduct on behalf of non-federal clients.

      Similarly, the County blames the PBMs for allegedly “driving patients to

opioids,” App. 18; R. Doc. 1 at 7, “pushing dangerous drugs,” App. 292; R. Doc. 1-

3 at 245, “flood[ing] the market,” App. 267; R. Doc. 1-3 at 220, and contributing “to

the creation of the illegal diversion market in St. Louis City for the sale of illegal

opioids in St. Louis City and Plaintiff County,” App. 274; R. Doc. 1-3 at 227—none

of which can be subdivided as the County proposes. And the County alleges that the

PBMs “had access to sales data and reports, adverse event reports, federal abuse and

addiction-related surveillance data, and other sources that demonstrated the

widening epidemic of opioid abuse and addiction.” App. 224; R. Doc. 1-3 at 177.

By definition, much of that data comes from the PBMs’ federal clients, including

the DoD—Express Scripts’ largest client. App. 644; R. Doc. 52 at 1; Add. 23.

      Even if the County could somehow devise a theory for disaggregating the

federal-client components of those allegations, moreover, the County’s allegations

would still “relate to” the PBMs’ work for federal clients, given that the PBMs



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performed the same services for those clients as they did for their other clients as to

which the County purportedly limits its claims. 28 U.S.C. 1441(a)(1) (emphasis

added). That is enough to support federal officer removal. Id.

      Partly for those reasons, the Fourth Circuit in Arlington County and Judge

Polster in Frederick County rejected arguments that the plaintiffs in those cases were

not challenging the PBMs’ federal work because the complaints did not mention

Express Scripts’ federal clients by name. To allow the County to artificially

subdivide its claim—whether expressly or by implication—would “elevate form

over substance.” Arlington County, 996 F.3d at 256; see Frederick County, 2023 WL

166006, at *5 (“Federal jurisdiction cannot be avoided merely by careful or creative

word-smithing.”). Under the federal officer removal statute, “the dispositive

question is whether the government directed a defendant to perform the acts for

which it is being sued, not whether the complaint mentions the government

contract”—or purports to disclaim it. Id.; cf. Hawai’i, 2024 WL 1907396, at *11-12

(finding non-opioid claims sufficiently “related to” PBM’s work for FEHBP plans

to support federal-officer removal despite purported disclaimer).

      The district court relied on decisions in three non-opioids, non-public

nuisance cases, App. 667; R. Doc. 58 at 11 n.12; Add. 11 n.12, but none of those

cases supports its holding. This Court’s decision in API did not rely on a purported

disclaimer of certain aspects of the plaintiff’s claim, as the County attempts here;



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API instead held that the “connection” element was absent because the plaintiff had

challenged separate conduct (marketing) that bore “little to no relationship” to the

companies’ activities for the federal government (physical production of fossil

fuels). 63 F.4th at 715. API also did not involve a public nuisance claim, see id. at

715 n.11, and neither did the two remand rulings against PBMs in insulin-pricing

cases that the district court cited, see California v. Eli Lilly & Co., 2023 WL 4269750

(C.D. Cal. June 28, 2023); Ohio ex rel. Yost v. Ascent Health Servs., LLC, 2024 WL

23187, at *3 (S.D. Ohio Jan. 2, 2024). The plaintiffs in those cases alleged that

diabetes patients overpaid for certain insulin prescriptions, and their disclaimers

accordingly seek to limit the cases to that set of allegedly overpriced prescriptions.

Here, by contrast, the County alleges liability that accrues only—if at all—by

reference to the aggregate impact of all opioid prescriptions in the County.5

       2.    In any event, even if a public nuisance plaintiff could permissibly

disclaim recovery in connection with opioids prescribed through specific federal

health plans—as two district courts have incorrectly held in recent months, see

Westchester County v. Mylan Pharms., Inc., 2024 WL 3043121 (S.D.N.Y. June 18,

2024); California v. Express Scripts, Inc., 2024 WL 841197 (C.D. Cal. Feb. 28,



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 In any event, the disclaimers in those cases are ineffective, and Express Scripts has
appealed two of them. Ohio ex rel. Yost v. Ascent Health Services, LLC, No. 24-
03033 (6th Cir.); California v. Express Scripts, Inc., No. 23-55599 (9th Cir.).


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2024)6—this case is fundamentally different because the County abandoned its

disclaimer. As explained at length above, the County said it was disclaiming reliance

on the PBMs’ work for federal officers, but the County then admitted that it is using

thousands of prescription claims the PBMs processed for federal health plans as

“evidence” to prove its case. See p. 42, supra. Whatever might be said about a

disclaimer of federal work that a plaintiff follows, there is no basis for allowing a

plaintiff to avoid federal officer removal when it concedes that it is seeking to impose

liability related to the defendants’ work for federal agencies. This Court can reverse

on that straightforward basis without splitting from any other court that has

addressed removal questions in this context—and while aligning with the most

persuasive decisions on the issue. See Arlington County, 996 F.3d 243; In re Nat’l

Prescription Opiate Litig., 2023 WL 166006; cf. Hawai’i, 2024 WL 1907396.

                                   CONCLUSION

       The Court should reverse the decision below.




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 The PBMs have appealed these decisions as well. Westchester County v. Mylan
Pharms., Inc., No. 24-1639 (2d Cir.); California v. Express Scripts, Inc., No. 24-
1972 (9th Cir.).


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Respectfully submitted.

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                     CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limitations of Federal Rule of

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      The undersigned hereby certifies that I have filed electronically, pursuant to

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                          CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on June 26, 2024, an electronic copy of

the Joint Brief of Defendants-Appellants was filed with the Clerk of the Court for

the United States Court of Appeals for the Eighth Circuit by using the CM/ECF

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